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                       IN THE UNITED STATES DISTRICT COURT
                        FOR THE EASTERN DISTRICT OF TEXAS
                                MARSHALL DIVISION

GODO KAISHA IP BRIDGE 1,

               Plaintiff,                                   Civil Action No. 2:21-cv-213
                                                                    (Lead Case)
       vs.

TELEFONAKTIEBOLAGET LM
ERICSSON AND ERICSSON INC.,                                 JURY TRIAL DEMANDED

               Defendants.


GODO KAISHA IP BRIDGE 1,

               Plaintiff,                                   Civil Action No. 2:21-cv-215
                                                                    (Member Case)
       vs.

NOKIA CORPORATION, NOKIA SOLUTIONS
AND NETWORKS OY, AND NOKIA OF                               JURY TRIAL DEMANDED
AMERICA CORPORATION,

               Defendants.



    ERICSSON’S UNOPPOSED PARTIAL MOTION TO DISMISS ALLEGATIONS
               RELATED TO THE ’546, ’275, AND ’594 PATENTS

       Telefonaktiebolaget LM Ericsson and Ericsson Inc., (“Ericsson”) move the court to dismiss

Godo Kaisha IP Bridge 1 (“IP Bridge”)’s claims of infringement as to U.S. Pat. Nos. 8,526,546,

8,787,275, and 8,077,594 (collectively, the “Dropped Patents”). IP Bridge does not oppose.

       IP Bridge contends that certain operations described in 3GPP Technical Specifications

require practice of these patents. Specifically, IP Bridge contends that the ’546 Patent is practiced

when an LTE base station receives a PUCCH format 2a or format 2b message. IP Bridge contends

that the ’275 Patent is practiced when an LTE or 5G NR base station sends DCI messages using

cross-carrier scheduling. IP Bridge contends that the ’594 Patent is practiced when an LTE base


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station receives both an SRS and a RACH preamble in the same subframe. Collectively, these are

the “Accused Features.”

       Ericsson notified IP Bridge that its products do not implement the Accused Features, and

provided citations to source code and supporting documentation establishing that Ericsson’s

current and past products did not support the Accused Features. Ericsson understands and agrees

that any later-developed product with any of the Accused Features would not be “essentially the

same” as the Accused Products in this litigation as to the particular Dropped Patent even if the

product bears the same name or product number as an Accused Product in this litigation. Subject

to that agreement, and based on the evidence provided by Ericsson, IP Bridge agreed to dismiss

its claims as to the ’546, ’275, and ’594 Patents with prejudice.

       Accordingly, Ericsson respectfully requests the Court dismiss IP Bridge’s Second, Fourth,

and Sixth causes of action from its original complaint (Dkt. No. 1) with prejudice. Ericsson also

requests the Court dismiss its Second, Fourth, and Sixth counterclaims (Dkt. No. 18) without

prejudice.




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Dated: April 7, 2022                     MCKOOL SMITH, P.C.

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                                CERTIFICATE OF SERVICE

       I hereby certify that a true and correct copy of the above and foregoing document has been

served on all counsel of record via the Court’s ECF system on April 7, 2022.

                                                      /s/ Nicholas Mathews
                                                      Nicholas Mathews


                             CERTIFICATE OF CONFERENCE

       I hereby certify that that counsel for all parties have conferred and the relief sought herein

is unopposed.

                                                      /s/ Nicholas Mathews
                                                      Nicholas Mathews




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